         Case 2:20-cv-00337-AMM-JHE Document 13 Filed 10/07/20 Page 1 of 2                                                FILED
                                                                                                                 2020 Oct-07 AM 11:00
                                                                                                                 U.S. DISTRICT COURT
                                                                                                                     N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

    BRANDON JAYWANN JOHNSON,                               )
                                                           )
          Plaintiff,                                       )
                                                           )
    v.                                                     )     Case No.: 2:20-cv-00337-AMM-JHE
                                                           )
    LEON BOLLING, et al.,                                  )
                                                           )
          Defendants.                                      )

                                                     ORDER
         On August 28, 2020, the magistrate judge entered a report recommending the

plaintiff’s claims against all defendants except for Lieutenant Michael Wheat be

dismissed without prejudice pursuant to 28 U.S.C. § 1915A(b) for failing to state a

claim upon which relief can be granted. (Doc. 12). The magistrate judge further

recommended the plaintiff’s claims for procedural due process violations and

retaliation against defendant Wheat be referred back to the magistrate judge for

further proceedings. (Id. at 12). Although the magistrate judge advised the plaintiff

of his right to file specific written objections within fourteen (14) days, no objections

have been received by the court.

         Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation,1 the magistrate judge’s report


1
 The court observes that the plaintiff has updated his address of record with the court since his transfer to Limestone
Correctional Facility. Contra Doc. 12 at n.1.
     Case 2:20-cv-00337-AMM-JHE Document 13 Filed 10/07/20 Page 2 of 2




is hereby ADOPTED and the recommendation is ACCEPTED.                   The court

ORDERS that all of the plaintiff’s claims against defendants Warden Leon Bolling,

Warden Kenneth Peters, Classification Specialist Hayes, Classification Specialist

Bonner, Classification Specialist Betty Stevenson, Classification Director Casandra

Conway, Psychological Associate Ms. Moore, Warden Gwen Givens, Correctional

Officer Thaddeus Clarke, Sergeant Richard Godsey, Commissioner Jefferson Dunn,

Sergeant William Patrick and the Classification Review Board are DISMISSED

WITHOUT PREJUDICE. The court further ORDERS that the plaintiff’s claims

for procedural due process violations and retaliation against defendant Lieutenant

Michael Wheat are REFERRED to the magistrate judge for further proceedings.

      DONE and ORDERED this 7th day of October, 2020.



                                   _________________________________
                                   ANNA M. MANASCO
                                   UNITED STATES DISTRICT JUDGE




                                        2
